              Case 4:23-cv-04155-YGR Document 258-1 Filed 04/16/24 Page 1 of 2



 1 JESSE LASLOVICH
   United States Attorney
 2 MADISON L. MATTIOLI                                    MARK STEGER SMITH
     MT Bar No. 36411284                                   MT Bar No. 4160
 3 ABBIE J.N. CZIOK                                       TIMOTHY A. TATARKA
     MT Bar No. 55781377                                   CA Bar No. 277219
 4 Assistant U.S. Attorneys                               Assistant U.S. Attorneys
    U.S. Attorney’s Office                                U.S. Attorney’s Office
 5 901 Front Street, Suite 1100                           James F. Battin Federal Courthouse
    Helena, MT 59626                                      2601 2nd Ave. North, Suite 3200
 6 Phone: (406) 457-5269 – Madison                        Billings, MT 59101
           (406) 457-5268 – Abbie                         Phone: (406) 247-4667 – Mark
 7 Fax: (406) 457-5130                                            (406) 247-4642 – Tim
    Email: madison.mattioli@usdoj.gov                     Fax: (406) 657-6058
 8              abbie.cziok@usdoj.gov                     Email: mark.smith3@usdoj.gov
                                                               timothy.tatarka@usdoj.gov
 9    Attorneys for Federal Defendants and
      Defendant United States of America.
10

11
                              IN THE UNITED STATES DISTRICT COURT
12                      NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
13   CALIFORNIA COALITION FOR WOMEN
     PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;       CASE NO. 4:23-CV-04155-YGR
14   G.M.; A.S.; and L.T., individuals on behalf of
     themselves and all others similarly situated,
15
                              Plaintiffs
16                     v.
17   UNITED STATES OF AMERICA FEDERAL
     BUREAU OF PRISONS, a governmental entity;
18   BUREAU OF PRISONS DIRECTOR                       DECLARATION OF MADISON MATTIOLI
     COLETTE PETERS, in her official capacity;
19   FCI DUBLIN WARDEN THAHESHA JUSINO,
     in her official capacity; OFFICER
20   BELLHOUSE, in his individual capacity;
     OFFICER GACAD, in his individual capacity;
21   OFFICER JONES, in his individual capacity;
     LIEUTENANT JONES, in her individual
22   capacity; OFFICER LEWIS, in his individual
     capacity; OFFICER NUNLEY, in his individual
23   capacity, OFFICER POOL, in his individual
     capacity, LIEUTENANT PUTNAM, in his
24   individual capacity; OFFICER SERRANO, in
     his individual capacity; OFFICER SHIRLEY, in
25   his individual capacity; OFFICER SMITH, in his
     individual capacity; and OFFICER VASQUEZ,
26   in her individual capacity,
27                          Defendants.
28 I, Madison Mattioli, declare as follows:
     DECLARATION OF MATTIOLI
     ISO ADMIN. MOTION TO FILE UNDER SEAL

30   4:23-cv-04155-YGR                                1
              Case 4:23-cv-04155-YGR Document 258-1 Filed 04/16/24 Page 2 of 2



 1       1. My name is Madison Mattioli, and I am an attorney of record in the above captioned case

 2            representing Federal Defendants and Defendant United States of America.

 3       2. Opposing counsel was not contacted prior to filing this motion, as we are requesting that excerpts

 4            of the Brief in Support of the Rule 60 motion and the entirety of the Nancy McKinney

 5            declaration that are filed under seal be reviewed in camera.

 6       3. Federal Defendants and Defendant United States of America cannot disclose to Plaintiffs the

 7            contents of the excerpt and document filed under seal to seek their position, as the documents

 8            contain highly sensitive information, the disclosure of which would be detrimental to institution

 9            operations and security.

10       4. I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true and

11            correct.

12            Executed this 16th day of April, 2024, at Helena, MT.

13

14

15                                                 /s/ Madison L. Mattioli
                                                   MADISON L. MATTIOLI
16                                                 Assistant United States Attorney
                                                   District of Montana
17

18

19

20

21

22

23

24

25

26
27

28
     DECLARATION OF MATTIOLI
     ISO ADMIN. MOTION TO FILE UNDER SEAL

30   4:23-cv-04155-YGR                                     2
